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                   UNITED STATES BANKRUPTCY COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         GREENSBORO DIVISION

IN RE:

TRAN T. TRUNG,                                      Chapter 7 (v)     .
                                                    Case No. 19-10838
                         Debtor(s).


            LIMITED OBJECTION TO MOTION FOR RELIEF FROM STAY


       NOW COMES, Charles M. Ivey, III, Trustee for the above-captioned matter objecting to
the Motion for Relief from Automatic Stay [Doc. 10] as filed by USAA Federal Savings Bank
(“USAA”), and respectfully shows unto the Court the following:


       1. On August 7, 2019, Trung Trieu Tran (hereinafter “Debtor”) filed a voluntary petition
under Title 11, Chapter 7 of the United States Bankruptcy Code. As a result of that filing the
Section 341 Creditors Meeting is scheduled for Sept. 3, 2019.

       2.      On August 30, 2019, USAA filed a Motion for Relief from Stay to foreclose on
property of the Debtor located at 3726 Velvet Lake Rd., Rhinelander, WI 54501 (“Property”).
The estimated market value of the Property, as stated by USAA, is $282,690.00. The Motion
states the total payoff to USAA and another lien holder is $333,370.70. However, the Trustee is
negotiating a possible carve-out with the secured parties and a third-party broker, in order to
obtain funds for the benefit of the estate.

       3.      The Trustee makes this limited objection to this Motion for Relief from Stay, and
would request the court allow the Trustee time to continue negotiations, and obtain any
necessary court-approval, to market and sale the property for the benefit of creditors, or to
otherwise continue the Motion to allow the Trustee to conduct further market research.



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       WHEREFORE, the Trustee respectfully request that the Court deny and/or continue the
Motion, as filed by USAA, and allow the Trustee to continue to negotiate a potential market and
sale the Property for the benefit of creditors; and for such other and further relief as this Court
deems just and proper.

       This the 13th day of September, 2019


                                              /s/ Charles M. Ivey, III
                                              Charles M. Ivey, III
                                              NCSB# 8333


OF COUNSEL:

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Greensboro, NC 27402
Telephone: 336/274-4658
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                               CERTIFICATE OF SERVICE

        THIS IS TO CERTIFY that on the date below, the undersigned served a copy of the
foregoing by depositing the same, enclosed in a postpaid wrapper, properly addressed to the
following parties-in-interest at their last known addresses as shown below, in a post office or
official depository under the exclusive care and custody of the United States Postal Service:


       William P. Miller, Esq.             (Electronic Copy Only)
       U.S. Bankruptcy Administrator
       101 South Edgeworth Street
       Greensboro, NC 27401

       Niel D. Jonas
       8757 Red Oak Blvd., Suite 150
       Charlotte, NC 28217

       Trung T. Tran
       c/o John T. Orcutt
       6616-203 Six Forks Road
       Raleigh, NC 27615


This is the 13th day of September, 2019.

                                           /s/ Charles M. Ivey, IV
                                           CHARLES (CHUCK) M. IVEY, IV,
                                           Attorney for Trustee
                                           N.C. State Bar #41338

OF COUNSEL:

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